Case 21-03003-sgj Doc 46-19 Filed 05/21/21   Entered 05/21/21 18:11:45   Page 1 of 7




                               EXHIBIT 19
Case 21-03003-sgj Doc 46-19 Filed 05/21/21   Entered 05/21/21 18:11:45   Page 2 of 7
Case 21-03003-sgj Doc 46-19 Filed 05/21/21         Entered 05/21/21 18:11:45       Page 3 of 7




 Dated: 4/26/2021                          Respectfully submitted,

                                           /s/ Bryan C. Assink
                                           John Y. Bonds, III
                                           State Bar I.D. No. 02589100
                                           Clay Taylor
                                           State Bar I.D. No. 24033261
                                           Bryan C. Assink
                                           State Bar I.D. No. 24089009
                                           BONDS ELLIS EPPICH SCHAFER JONES LLP
                                           420 Throckmorton Street, Suite 1000
                                           Fort Worth, Texas 76102
                                           (817) 405-6900 telephone
                                           (817) 405-6902 facsimile
                                           Email: john@bondsellis.com
                                           Email: joshua@bondsellis.com
                                           Email: bryan.assink@bondsellis.com




                                           Deborah Deitsch-Perez
                                           State Bar No. 24036072
                                           Michael P. Aigen
                                           State Bar No. 24012196
                                           STINSON LLP
                                           3102 Oak Lawn Avenue, Suite 777
                                           Dallas, Texas 75219
                                           (214) 560-2201 telephone
                                           (214) 560-2203 facsimile
                                           Email: deborah.deitschperez@stinson.com
                                           Email: michael.aigen@stinson.com
                                            ATTORNEYS FORDEFENDANTJAMESDONDERO




 DEFENDANT JAMES DONDERO'$ OBJECTIONS AND ANSWERS TO HIGHLAND CAPITAL MANAGEMENT, L.P.'S FIRST
 SET OF INTERROGATORIES                                                        PAGE 2 OF 6
 CORE/3522697.0002/166033837.2
Case 21-03003-sgj Doc 46-19 Filed 05/21/21   Entered 05/21/21 18:11:45   Page 4 of 7




                                             /s/ Bryan C. Assink
Case 21-03003-sgj Doc 46-19 Filed 05/21/21   Entered 05/21/21 18:11:45   Page 5 of 7
Case 21-03003-sgj Doc 46-19 Filed 05/21/21   Entered 05/21/21 18:11:45   Page 6 of 7
Case 21-03003-sgj Doc 46-19 Filed 05/21/21   Entered 05/21/21 18:11:45   Page 7 of 7
